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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

SPIN MASTER LTD. and SPIN MASTER,
INC.
Case No.: 19-cv-6949
Plaintiffs,
Vv.
ACIPER et al.
Defendants.

 

 

AMENDED DECLARATION OF WANG LE IN SUPPORT OF
MOTION TO DISSOLVE OR MODIFY THE EX PARTE RESTRAINING ORDER

Wang Le, declares under penalty of perjury under the laws of the United States of
America, pursuant to 28 U.S.C. § 1746, that the following is true and correct:

if Iam a Manager of Shenzhen Yongli Hongtai Investment Development Co., Ltd.,
d/b/a Jscout (“Jscout” or “Defendant”), a defendant in this action. I submit this amended
declaration in support of Defendant’s motion to dissolve or modify the ex parte restraining order
entered by this Court on August 1, 2019. Iam over 18 years of age. This declaration is made
upon personal knowledge, except where otherwise noted.

2: Due to a misunderstanding of earlier communications and translations, certain
data was inadvertently omitted from my reporting in connection with my Declaration dated
September 4, 2019. I submit this Amended Declaration to clarify the data and in response to
Plaintiff's memorandum of law filed September 11, 2019.

3. I understand Plaintiffs expressed confusion in their opposition brief to my
previous identification of ASIN BO7KLSBONZ. See Opp. Br. at 3; Le Decl. Dkt. 21 974. This

was a Parent ASIN created by Amazon which was associated with the Disputed Product. For
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unknown reasons, Amazon has also used 10 other Parent ASINs in their categorization system
for the Disputed Product.

4. As [have previously declared, the Disputed Product is identified in Jscout’s
records as having a Child ASIN BO7FKRY7CK. The title of Jscout’s Disputed Product is
“Epoch Air Re Cars for Kids Remote Control Car Toys Wall Climbing Dual Mode 360°Rotating
Stunt Rechargeable High Speed Vehicle with LED Lights.” The Child ASIN is the most
accurate ASIN to use in identifying our sales of the specific product.

3; Plaintiffs have not provided Amazon’s Supplemental Discovery to our counsel so
it is hard to completely account for the discrepancies in the data, and any discrepancies are not
intended to be misleading.

6. My understanding is Amazon only allows us to download sales figures for the last
two years. My revised figures therefore date back to around October 1, 2017.

i Our records indicate 48,884 total orders for the Disputed Product with Child
ASIN BO7FKRY7CK during this time frame, reflecting a total of $1,349,219.

8. Jscout offers a variety of other products through its Amazon storefront, such as a
hovering soccer ball, a construction toy set, and a drawing mat, to name a few.

9. Our records indicate that Jscout received 68,675, orders totaling $1,283,493
orders for other toys and items that are not at issue in this suit. Thus, our records indicate that
the Disputed Product accounts for approximately 42% of Defendant's total orders. And
approximately 58% of Defendant's orders have nothing to do with the Disputed Product.

10. Just under 50% of our revenues during this time came from sales of products

other than the Disputed Product.
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11. Accordingly, I hereby amend §§ 5-7 of my Declaration dated September 4, 2019
to reflect these updated figures.

12. The key point remains: Defendant’s Amazon storefront is currently frozen and it
is unable to engage in selling roughly 70 other products that are not wall climbing toy cars.
Although the percentage of our total sales from these toys is closer to 50%, the gross amount of
non-disputed sales that are being impacted by the asset freeze is the same is previously reported.

13. Plaintiffs claim that Defendant Jscout has other avenues to conduct its business,
such as the Epoch Air Website, is not accurate. Jscout’s sales happen entirely on Amazon and
they have not sold any toy cars through other websites. My understanding is the product listings
on the Epoch Air website is to simply showcase the products.

14. Plaintiffs claim that we could keep selling the non-disputed toys on Amazon, but
any revenues from sales of those toys will be automatically frozen. Since the TRO has gone into
effect, the amount of assets frozen have grown from ~$20,340 to approximately $50,000.

15. Plaintiffs also say that we could just not sell toys on Amazon, but Amazon has
more than a third of of the e-commerce market. Defendant’s entire business is extremely
prejudiced by the continued freezing of all its assets and the inability to use its Amazon
storefront.

16. T respectfully request that Defendant’s application to vacate or modify the TRO as

against it is granted.
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I declare under penalty of perjury under the laws of the United States of America that the

foregoing is true and correct,

Executed on: Y at 5 2019
By: Gh lo :
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WwW LE
